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6
     Attorneys for
7    OMAR AMEEN
8
9                              IN THE UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     IN THE MATTER OF THE                              )   Case No. 2:18-mj-152 EFB
12   EXTRADITION OF OMAR                               )
     ABDULSATTAR AMEEN TO THE                          )   STIPULATION AND [PROPOSED]
13   REPUBLIC OF IRAQ                                  )   MODIFICATION TO PROTECTIVE ORDER
                                                       )   REGARDING STATEMENTS OF WITNESSES
14                                                     )   A&B
15                                                         Judge: Hon. Edmund F. Brennan
16
     IT IS HEREBY STIPULATED AND AGREED among the parties and their respective counsel,
17
     Benjamin D. Galloway and Rachelle Barbour, on behalf of Omar Abdulsattar Ameen, and
18
     Audrey B. Hemesath, Assistant United States Attorney, on behalf of the Government, to
19
     modification of the Protective Order at Document 117 (filed April 10, 2019).
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            The Defense has provided the Government unredacted witness statements of and other
21
     documents regarding Witnesses A and B, the parents of the victim in this case. The defense
22
     states that those witnesses have gone on the record in Al-Anbar Court in Iraq, and their notarized
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     statements to that Court have been provided unredacted to this Court and the Government as
24
     well. As they have made official court statements in Iraq in connection with this case, the
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     concerns of Document 117, which would keep the U.S. Government from contacting the Iraqi
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     authorities about the witness’s statements, no longer apply. The Government has indicated it
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     seeks to contact the Iraqi Government regarding the Witness A and B statements. Accordingly,
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1    the parties agree to modify the Protective Order to no longer apply to the statements of and other
2    evidence regarding Witnesses A and B at Exhibits 34, 35, 64, 65, 66, 67, 70, 71, 72, 73, 74, 75,
3    76, and 77, and any other additional statements.
4               This Court may enter and modify protective orders pursuant to its general supervisory
5    authority and Local Rule 141.1.
6    DATED: May 23, 2019                                   Respectfully submitted,
7                                                          HEATHER E. WILLIAMS
8                                                          Federal Defender

9                                                          /s/ Benjamin D. Galloway
                                                           BENJAMIN D. GALLOWAY
10                                                         Chief Assistant Federal Defender
11
                                                           /s/ Rachelle Barbour
12                                                         RACHELLE BARBOUR
                                                           Assistant Federal Defender
13                                                         Attorneys for OMAR AMEEN
14
     DATED: May 23, 2019                                   /s/ Audrey Hemesath
15
                                                           AUDREY B. HEMESATH
16                                                         Assistant United States Attorney

17
18   //
19
     //
20
                                                           [ORDER]
21
                IT IS SO FOUND AND ORDERED.
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23
     DATED: May 24, 2019
24
25                                                                EDMUND F. BRENNAN
26                                                                United States Magistrate Judge

27
28

          Stipulation and [Proposed] Order – US v. Ameen
